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                EXHIBIT C
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Activision Blizzard, Inc. (ATVI)
Class Period: August 2, 2018 to January 10, 2019
(Includes 90-Day Sales @ Statutory Pricing)                                                                                                                      67-Day*
                                                                                                                                                                Mean Price
                                                                                                                                                                $44.4156
                                            Purchase                                             Sales                                               Shares     Estimated     Estimated
Plaintiff                                     Date         Shares      Price      Amount         Date         Shares        Price      Amount       Retained      Value       Gain(Loss)

Goh, Min Ning                                   9/4/2018      9,640    $72.5120    ($699,016)    12/20/2018       (1,350)   $46.9375      $63,366
Goh, Min Ning                                                                                    12/24/2018          (72)   $44.0000       $3,168
Goh, Min Ning                                                                                    12/28/2018       (3,812)   $47.0036     $179,178
Goh, Min Ning                                                 9,640                ($699,016)                     (5,234)                $245,711       4,406      $195,695      ($257,609)

ASG Japan                                      11/2/2018       2,000   $69.2140    ($138,428)    12/21/2018         (100)   $45.9000       $4,590
ASG Japan                                      11/5/2018       2,100   $66.8326    ($140,349)    12/26/2018         (100)   $44.3228       $4,432
ASG Japan                                      11/5/2018         100   $64.6600      ($6,466)     1/24/2019         (600)   $47.1311      $28,279
ASG Japan                                      11/5/2018       1,700   $64.0965    ($108,964)     1/25/2019         (200)   $47.1980       $9,440
ASG Japan                                      11/8/2018       1,000   $56.7500     ($56,750)     1/31/2019         (100)   $47.0000       $4,700
ASG Japan                                      11/8/2018       1,000   $56.7978     ($56,798)      2/4/2019         (400)   $46.9244      $18,770
ASG Japan                                     11/15/2018         100   $51.7000      ($5,170)      2/5/2019       (3,500)   $46.9782     $164,424
ASG Japan                                                                                          2/8/2019       (3,000)   $46.4500     $139,350
ASG Japan                                                     8,000                ($512,924)                     (8,000)                $373,984       7,800                    ($138,940)


Summary
Goh, Min Ning                                                 9,640                 ($699,016)                    (5,234)                $245,711       4,406                    ($257,609)
ASG Japan                                                     8,000                 ($512,924)                    (8,000)                $373,984       7,800                    ($138,940)
Total                                                        17,640               ($1,211,940)                   (13,234)                $619,696      12,206                    ($396,549)




            *Avg Closing Prices from Jan 11 to Mar 13
